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Attorneys for Defendants CITY OF LOS ANGELES and BRETT RAMIREZ

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MARCUS VAUGHN; S.J.,a minor, by | CASE NO. CV 16-03086 AB (AJWx)
and through her guardian ad litem Tiassa | Hon. Andre Birotte, Cirm 7B, 7 FI.

Powell; and D.J.A., a minor, by and Mag. Andrew J. Wistrich, Ctrm 690, 6" Fl.

through his guardian ad litem Tiassa
Powell, in each case individually and as
a successor in interested to Redel Jones, | DEFENDANTS’ [PROF OSED|
seveases ae HAROLD HORNE, SPECIAL VERDICT FORM
individually

Plaintiffs, P.T.C.: October 16, 2017
TRIAL: November 7, 2017
VS.

CITY OF LOS ANGELES; BRETT
RAMIREZ; and DOES 1-10, inclusive,

Defendants

 

 

TO THIS HONORABLE COURT:
Pursuant to the U.S.D.C. Local Rules, Rule 16-4 and this Court’s Standing Order
re Civil Trial, Defendants CITY OF LOS ANGELES and BRETT RAMIREZ hereby

submit their proposed Special Verdict Form.

Dated: October 2, 2017 MICHAEL N. FEUER, City Attorney

THOMAS H. PETERS, Chief Assistant City Attorney
CORY M. BRENTE, Assistant City Attorney

By: /s/ Lisa W. Lee
LISA W. LEE, Deputy City Attorney

 

 

 

 

 
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deceased; and HAROLD HORNE,
individually

Plaintiffs,
VS.

CITY OF LOS ANGELES; BRETT
RAMIREZ; and DOES 1-10, inclusive,

Defendants

 

 

 

WE, THE JURY in the above-entitled action, unanimously find as follows on the
questions submitted to us:
QUESTION NO. 1:

Have Plaintiffs proved by a preponderance of the evidence that Defendant Brett
Ramirez used unreasonable force against Redel Jones in violation of her Fourth

Amendment constitutional rights?
YES NO

 
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Ifyou answered “No”, please proceed to Question No. 7.

If you answered “Yes”, please proceed to Question 2.

QUESTION NO. 2:
If you answered “Yes” to Question No. 1, was the use of unreasonable force a
cause of Redel Jones’ death?
YES NO

Ifyou answered “No”, please proceed to Question No. 7.

If you answered “Yes”, please proceed to Question 3.

QUESTION NO. 3:

Have any of the following Plaintiffs proved by a preponderance of the evidence
that Defendant Brett Ramirez violated any of the following Plaintiffs’ Fourteenth
Amendment Constitutional Rights to a familial association with Redel Jones’ by using

unreasonable force to detain her and with an unlawful purpose to harm her?

Answer (check “Yes” or “No”) following the name of each Plaintiff for whom

you answer “Yes” in response to this Question:

Marcus Vaughn YES __———s NOD
D.J.A. YES __——s NOD
S.J. YES __———s NO
Harold Horne YES NO

If you answered “No” as to each Plaintiff, skip to Question No. 5.
If you answered “Yes” as to any Plaintiff, proceed to Question No. 4.

 
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QUESTION NO. 4:

For each “Yes” response to Question No. 3, do you find that one or more of the
Plaintiffs have proved that Defendant Brett Ramirez’s conduct was the cause of injury
to that Plaintiff?

Answer (check “Yes” or “No”) following the name of only that Plaintiff for

whom you answered “Yes” in response to Question 3:

Marcus Vaughn YES —————s NO
D.J.A. YES _———s NO
S.J. YES ———s-/ NO
Harold Horne YES NO

Please proceed to Question No. 5.

QUESTION NO. 5:

As to Plaintiffs’ battery claim, have Plaintiffs proved by a preponderance of the
evidence that Defendant Brett Ramirez used unreasonable force against Redel Jones in
violation of California state law?

Do not answer this question if you answered “No” to Question No. I

YES NO

Ifyou answered “No”, please proceed to Question No. 7.

Ifyou answered “Yes”, please proceed to Question 6.

QUESTION NO. 6:
If you answered “Yes” to Question No. 5, was the use of unreasonable force a

substantial factor in causing the death of Redel Jones?
YES NO

Please proceed to Question 7.

 

 
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QUESTION NO 7:
Have Plaintiffs proved by a preponderance of the evidence that Defendant Brett
Ramirez was negligent in using deadly force against Redel Jones?
YES NO

If you answered “No”, please proceed to Question No. 20.

If you answered “Yes”, please proceed to Question 8.

QUESTION NO 8:
If you answered “Yes” to Question No. 7, was Defendant Brett Ramirez’s

negligence a substantial factor in the cause of Redel Jones death?
YES NO

If you answered “Yes”, please proceed to Question 9.

If you answered “No”, but answered “Yes” to Question No. 2, please go to
Question No. 12

QUESTION NO. 9:
Was Redel Jones negligent?
YES NO

Ifyou answered “No”, please proceed to Question No. 11.

Ifyou answered “Yes”, please proceed to Question 10.

QUESTION NO 10:
Was Redel Jones’ negligence a substantial factor in the cause of her death?
YES NO

 

 

 
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If you answered “No”, but answered “Yes” to Question No. 2, please proceed
to Question No. 12.

If you answered “Yes”, please proceed to Question 11.

QUESTION NO. 11:
What percentage of responsibility for Redel Jones death do you assign to each of

the following persons?

Defendant Brett Ramirez %
Redel Jones %
TOTAL 100 %

Please proceed to Question 14.

QUESTION 12:
If you answered “yes” to Questions 2 and/or 8, answer the following question.

If you answered “No” to Questions 2 and/or 8, please proceed to Question 20.

What are Redel Jones’ damages for her pain and suffering? $

Please proceed to Question 13.

QUESTION NO. 13:
If you answered “Yes” to Question 4, answer the following question.

If you answered “No” to Question 4, please proceed to Question 17.

What are the total amount of Plaintiff Marcus Vaughn’s damages for the
interference with his familial relationship with his wife under the Fourteenth

Amendment? Total: $

 

 
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Please proceed to the Question 16.

QUESTION NO. 14:
If you answered “Yes” to Question 4, answer the following question.

Ifyou answered “No” to Question 4, please proceed to Question 19.

What are the total amount of Plaintiff D.J.A.’s damages for the interference with
his familial relationship with his mother under the Fourteenth Amendment?
Total: $

QUESTION NO. 15:
If you answered “Yes” to Question 4, answer the following question.

Ifyou answered “No” to Question 4, please proceed to Question 19.

What are the total amount of Plaintiff S.J.’s damages for the interference with
her familial relationship with her mother under the Fourteenth Amendment?
Total: $
QUESTION NO. 16:
If you answered “Yes” to Question 4, answer the following question.

If you answered “No” to Question 4, please proceed to Question 19.
What are the total amount of Plaintiff Harold Horne’s damages for the

interference with his familial relationship with his daughter under the Fourteenth
Amendment? Total: $

Please proceed to the Question 19.

 

 
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QUESTION NO. 17:
If you answered “Yes” to Questions 6 and/ or 8, answer the following questions.

If you answered “No” to Questions 6 and 8, please proceed to Question 21.

What are the total amount of Marcus Vaughn’s damages under state law?
Economic $

Non-economic $

 

Please proceed to Question 18, if you answered “Yes” to Question 6 and/or 8.

QUESTION NO. 18:
If you answered “Yes” to Questions 6 and/ or 8, answer the following questions.

Ifyou answered “No” to Questions 6 and 8, please proceed to Question 21.

What are the total amount of D.J.A.’s damages under state law?
Economic $
Non-economic $

Please proceed to Question 19, if you answered “Yes” to Question 6 and/or 8.

QUESTION NO. 19:
If you answered “Yes” to Questions 6 and/or 10, answer the following questions.

If you answered “No” to Questions 6 and 10, please proceed to Question 21.
What are the total amount of S.J.’s damages under state law?
Economic $

Non-economic $

Please proceed to Question 20.

 
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QUESTION NO. 20:
If you answered “Yes” to Questions 6 and/ or 8, answer the following questions.

If you answered “No” to Questions 6 and/or 8, please proceed to Question 21.

What are the total amount of Harold Hornes’ damages under state law?
Economic $
Non-economic $

Please proceed to Question 21.

QUESTION NO. 21:
If you answered “Yes” to Question 2 and/or 4, please answer the following
question.
If you answered “No” to Question 2 and 4, please sign and date this verdict

form and return it to the Court.

Have Plaintiffs proved that the conduct of Defendant Brett Ramirez was
malicious, oppressive or in reckless disregard of Redel Jones’ federal constitutional
rights?

YES NO

Please sign and date this verdict form and return it to the Court.

Dated: Signed:

 

Jury Foreperson

 

 
